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     Attorneys for Defendant
 8   CROSBY VALVE, LLC

 9                              UNITED STATES DISTRICT COURT

10                            NORTHERN DISTRICT OF CALIFORNIA

11   DENNIS HALE and LORA HALE,                     Case No.:
               Plaintiffs,
12                                                  Superior Court Case No.:   CGC-21-276981
            vs.
13
                                                    NOTICE OF REMOVAL
14   AIR & LIQUID SYSTEMS CORP.,
     individually and as successor-in-interest to
15   Buffalo Pumps, Inc.; ALFA LAVAL INC.,
     f/k/a The DeLaval Separator Company;
16   ARMSTRONG INTERNATIONAL, INC.;
     BW/IP, INC.; CBS CORPORATION, a
17   Delaware Corporation, f/k/a Viacom Inc.,
     Successor by Merger to CBS Corporation, a
18   Pennsylvania Corporation, f/k/a
     Westinghouse Electric Corporation;
19   CLARK-RELIANCE CORPORATION, as
     successor-in-interest to Jerguson Gauge and
20   Valve; CRANE CO., individually and as
     successor-in-interest to Stockham Valves &
21   Fittings Company, Chapman Valve Mfg.
     Co. and Alloy Steel Products Co.; CROSBY
22   VALVE, INC.; CUMMINS INC.; ELLIOT
     COMPANY; FLOWSERVE US, Inc., as
23   successor-in-interest to Durametallic
     Corporation; FLOWSERVE US, INC., as
24   successor-in-interest to Edward Vogt Valve
     Co., Vogt Valve Company, Edward Valves,
25   Inc., Nordstrom Audco, Inc., Nordstrom
     Valves, Inc., Rockwell Manufacturing Co.;
26   FMC CORPORATION, individually and as
     successor-in-interest to Peerless Pump,
27   Turbo Pump Operation, and Chicago Pump;
     FOSTER WHEELER LLC. f/k/a Foster
28   Wheeler USA Corporation; GARDNER

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 1   DENVER, INC., individually and as
     successor-in-interest to Joy Manufacturing
 2   Co.; GENERAL ELECTRIC COMPANY;
     IMO INDUSTRIES INC.; ITT LLC, f/k/a
 3   ITT, INC., f/k/a ITT CORPORATION,
     individually and as successor-in-interest to
 4   Bell & Gossett, Kennedy Valve
     Manufacturing Co., McDonnell & Miller,
 5   Fabri-Valve, Hoffman Specialty
     Manufacturing Co.; JOHN-CRANE, INC.,
 6   individually and as successor-in-interest to
     CRANE PACKING COMPANY; KAISER
 7   GYPSUM COMPANY, INC.; MUELLER
     STEAM SPECIALTY; NAVISTAR,.INC.;
 8   PACCAR, INC.; PARKER HANNIFIN
     CORPORATION, individually and as
 9   successor-in interest to Sacomo-Sierra,
     Parker Seal Company; and Rockwell
10   Mechanical Packing; SERVICE
     ENGINEERING CO.; STERLING FLUID
11   SYSTEMS (USA) LLC, dba and
     individually and as successor-in-interest to
12   PEERLESS PUMP COMPANY and
     INDIAN HEAD, INC.; THE GOODYEAR
13   TIRE & RUBBER COMPANY; THE
     WILLIAM POWELL COMPANY; TRIPLE
14   A MACHINE SHOP, INC.; VELAN
     VALVE CORP.; VIKING PUMP, INC.;
15   VOLVO TRUCKS NORTH AMERICA,
     INC.; WARREN PUMPS LLC, individually
16   and as successor-in-interest to WARREN
     PUMPS, INC.; WEIR VALVES &
17   CONTROLS USA, INC. f/k/a ATWOOD &
     MORRILL; WELCO MANUFACTURING
18   COMPANY; and DOES 1-500;

19                  Defendants.
20

21          Defendant CROSBY VALVE, LLC hereby removes this action from the Superior Court of
22   the State of California for the County of San Francisco to the United States District Court for the
23   Northern District of California based upon federal officer jurisdiction pursuant to 28 U.S.C.
24   §§ 1442(a)(1) and 446.
25          Crosby Valve, LLC provides the following statement of the grounds for removal:
26                                    PRELIMINARY MATTERS
27          1.      On or about November 15, 2021, Plaintiffs DENNIS HALE and LORA HALE filed
28   their civil action for personal injury entitled Hale v. Air & Liquid Systems Corp., et al., in the
                                                  2
                                         NOTICE OF REMOVAL
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 1   Superior Court of the State of California for the County of San Francisco, Case No. CGC-21-

 2   276981. A copy of the Complaint is attached hereto as EXHIBIT ONE.

 3           2.     On or about January 10, 2022, Crosby Valve, LLC was served with Plaintiffs’

 4   Complaint. See EXHIBIT ONE.

 5           3.     Crosby Valve, LLC’s Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b)

 6   because Crosby Valve, LLC is filing this Notice of Removal within thirty (30) days of receipt of

 7   Plaintiffs’ Complaint.

 8           4.     Removal to the United States District Court for the Northern District of California is

 9   proper under 28 U.S.C. § 1441(a) because the Complaint was filed in the Superior Court of the State
10   of California for the County of San Francisco, which is located within the jurisdiction of this District.

11                                        NATURE OF THE CASE

12           5.     The Complaint generally alleged that Plaintiff DENNIS HALE was occupationally

13   exposed to asbestos-containing products and that he served in the United States Navy from 1960 to

14   1983. The Complaint alleged that Plaintiff was exposed to asbestos from products while serving as

15   a Machinist Mate in the United States Navy. Defendant Crosby Valve, LLC manufactured valves.

16   “Plaintiff, Dennis Hale, was exposed to asbestos of varied types and sources during his employment,

17   which may have included, but is not limited to: adhesives/tape/mastic; automobiles; boilers; brakes;

18   cloth; compressors; condensors; construction materials including joint compounds and drywall;

19   desalination equipment; evaporators, economizers, fiber product; friction materials; gaskets; hoists,
20   insulating cement; insulation/insulating materials; lifts; motors; oil purifying equipment; packing;

21   pipecovering/block insulation; pumps; refrigeration equipment; sealants/coatings; steam generating

22   equipment, valves; and other materials containing asbestos currently unknown or unspecified by

23   plaintiffs. Plaintiff and others around him performed cleanup tasks using compressed air, push

24   brooms, dry cloths and other tools after performing such tasks and other vehicle repair and

25   maintenance. Such repair, maintenance and clean up caused plaintiff to be exposed to harmful

26   respirable asbestos, which he breathed, and was a cause of his asbestos related disease.” Exhibit

27   One, Plaintiffs’ Complaint.

28   ///
                                                    3
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 1                                             JURISDICTION

 2          6.      Removal is proper under the federal officer removal statute, 28 U.S.C. § 1442(a)(1),

 3   which provides for removal when a defendant is sued for acts undertaken at the direction of a federal

 4   officer. Removal is appropriate, where the removing defendant establishes that: (1) the defendant is

 5   a person; (2) the defendant was acting under the direction of a federal officer when it engaged in the

 6   allegedly tortious conduct; (3) there is a causal nexus between the plaintiff’s claims and the

 7   defendant’s actions under federal direction; and (4) the defendant has raised a colorable defense

 8   based upon federal law. See Mesa v. California, 489 U.S. 121, 124-25, 129-31, 134-35 (1989). Here,

 9   Crosby Valve, LLC satisfies the four elements and is entitled to remove this action pursuant to the
10   federal officer removal statute.

11          7.      For the purposes of the federal officer removal statute, a corporation is a person. See

12   Winters v. Diamond Shamrock Co., 149 F.3d 387, 398 (5th Cir., 1998); Fung v. Abex Corp., 816 F.

13   Supp. 569, 572 (N.D. Cal., 1992).

14          8.      Crosby Valve, LLC was acting under the direction of the United States Navy within

15   the meaning of 28 U.S.C. § 1442(a)(1) in the design, manufacture, and sale of its valves for and to

16   the United States Navy. Crosby Valve, LLC valves were designed and manufactured pursuant to

17   precise contracts and specifications approved by the United States Navy. See Declaration of

18   Christopher P. Herfel, ¶¶13-20, EXHIBIT TWO.

19          9.      There exists a strong causal nexus between plaintiffs’ claims and Crosby Valve,
20   LLC’s actions, in light of the specific direction and strict control of the United States Navy over the

21   design and manufacture of Crosby Valve, LLC valves, thereby meeting the third element. Winters,

22   149 F.3d at 400 (the causal nexus test is met when the government (1) provided specifications for

23   product composition, warnings and delivery, (2) compelled the defendant’s manufacture of the

24   product, and (3) supervised the defendant’s actions). Plaintiff’s claims against Crosby Valve, LLC

25   depend solely on the actions taken by Crosby Valve, LLC in accordance and compliance with

26   directions from the United States Navy.

27          10.     Crosby Valve, LLC’s government contractor defense is a colorable federal defense

28   to plaintiff’s claims. As set forth by the Supreme Court of the United States in Boyle v. United
                                                   4
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 1   Technologies Corp., 487 U.S. 500, 512 (1988), the government contractor defense applies when:

 2   (1) the United States approved reasonably precise specifications; (2) the equipment conformed to

 3   those specifications; and (3) the supplier warned the United States about the dangers in the use of

 4   the equipment that were known to the supplier but not to the United States. Hagen v. Benjamin

 5   Foster Co., 739 F.Supp.2d 770 (E.D. Pa. 2010) (Robreno, J.) (removal is appropriate under

 6   § 1442(a)(1) when “defendant identifies facts which, in the light most favorable to the defendant,

 7   entitle him or her to a complete defense.”)

 8          11.     At this stage, Crosby Valve, LLC must show that its federal defense has some basis

 9   in law and fact, but is not required to win its case. See Jefferson County v. Acker, 527 U.S. 423, 431
10   (1999); Mesa, 489 U.S. at 128; Fung v. Abex Corp., 816 F. Supp. 569, 573 (N.D. Cal., 1992).

11          12.     Crosby Valve, LLC cannot be liable under state law for any injuries caused by

12   Crosby Valve, LLC valves aboard a United States Navy vessel or at a United States Navy jobsite.

13   As detailed above, the United States Navy provided Crosby Valve, LLC with precise specifications

14   regarding its valves and Crosby Valve, LLC delivered valves that confirmed to those specifications.

15   See Declaration of Christopher P. Herfel, ¶¶15-20. The United States Navy, as one of the leaders

16   in industrial hygiene state of the art, possessed knowledge regarding the hazards of asbestos equal

17   to or superior to its equipment suppliers, such as Crosby Valve, LLC. See Declaration of

18   Christopher P. Herfel, ¶¶21-25. Crosby Valve, LLC has a colorable claim that it is entitled to

19   immunity from state tort law in this action under the federal government contractor defense.
20          13.     Federal officer removal should be interpreted broadly. Durham v. Lockheed Martin

21   Corp., 445 F.3d 1247, 1253 (9th Cir. 2006) (holding that “the Supreme Court has mandated a

22   generous interpretation of the federal officer removal statute”). Indeed, the United States Supreme

23   Court “has held that the right of removal is absolute for conduct performed under color of federal

24   office, and has insisted that the policy favoring removal ‘should not be frustrated by a narrow,

25   grudging interpretation of § 1442(a)(1).’ “Arizona v. Manypenny, 451 U.S. 232, 242 (U.S. 1981)

26   (quoting Willingham v. Morgan, 395 U. S. 402, 395 U. S. 407 (1969)); Camacho v. Autoridad de

27   Telefonos de Puerto Rico, 868 F.2d 482, 487 (1st Cir., 1989); Harris v. Rapid Am. Corp., 532 F.

28   Supp. 2d 1001, 1004 (N.D. Ill., 2007).
                                                   5
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 1          14.     Crosby Valve, LLC is not required to obtain the consent of any other defendants in

 2   this action to remove this action in its entirety under § 1442(a)(1). See Ely Valley Mines, Inc. v.

 3   Hartford Acc. & Indem. Co., 644 F.2d 1310, 1314 (9th Cir., 1981); Akin v. Ashland Chem. Co., 156

 4   F.3d 1030, 1034 (10th Cir., 1998).

 5          15.     In the event of a motion to remand this action, Crosby Valve, LLC respectfully

 6   requests an opportunity to respond more fully in a supplemental memorandum.

 7          16.     As required by § 1446(a), true and correct copies of all process, pleadings, and orders

 8   served upon Crosby Valve, LLC are being filed herewith.

 9          17.     Pursuant to 28 U.S.C. § 1446(d), Defendant Crosby Valve, LLC is filing written
10   notice of this Notice of Removal with the Superior Court of the State of California for the County

11   of San Francisco concurrently with the filing of this Notice of Removal, and will serve the same on

12   counsel of record. A copy of the Notice of Filing Notice of Removal, in the form in which it will be

13   filed and served, is attached hereto as EXHIBIT THREE.

14          18.     WHEREFORE, Defendant Crosby Valve, LLC requests that this Court assume

15   jurisdiction over this matter on removal from the Superior Court of the State of California for the

16   County of San Francisco.

17

18   DATED: February 9, 2022                    FOLEY & MANSFIELD, PLLP

19
                                          By:
20                                              Gary D. Sharp, Esq.
                                                T. Eric Sun, Esq.
21                                              Andrew L. Sharp, Esq.
                                                Attorneys for Defendant
22                                              CROSBY VALVE, LLC
23

24

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                                                   6
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 1                                  PROOF OF SERVICE
                      HALE vs. AIR & LIQUID SYSTEMS CORP., et al,
 2         UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA
                    San Francisco County Superior Court No.: CGC-21-276981
 3

 4
            I am employed in the County of Los Angeles, State of California. I am over the age of 18
 5   and not a party to the within action; my business address is 181 W. Huntington Drive, Monrovia,
     California 91016.
 6
         On February 9, 2022, I filed and served the following document(s): NOTICE OF
 7   REMOVAL.

 8

 9    KELLER, FISHBACK & JACKSON LLP
      Stephen M. Fishback (State Bar No. 191646)
10    Daniel L. Keller (State Bar No. 191738)
      J. Bruce Jackson (State Bar No. 173215)
11    28720 Canwood Street, Suite 200
      Agoura Hills, California 91301
12

13    Attorneys for Plaintiffs

14    ☒     (BY COURT'S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed and served
            the documents with the Clerk of the Court using the CM/ECF systems, and the document will
15          be available for viewing and downloading from the Court’s CM/ECF system.

16
      ☐     (BY ELECTRONIC SERVICE VIA FILE & SERVEXPRESS) Complying with Code of
17          Civil Procedure Section 1010.6, and/or as directed by the Court in this matter, I caused the
            above-entitled document to be served through File & ServeXpress (formerly LexisNexis) at
18          www.fileandservexpress.com addressed to all parties appearing for the above-entitled case.
            If the document is provided electronically by 5:00 p.m., then the document will be deemed
19          served on the date it was provided to File & ServeXpress. A copy of the File & ServeXpress
            Filing Receipt will be maintained with the original document in our office.
20
      ☐     (BY MAIL) The documents were enclosed in a sealed envelope or package addressed to the
21          persons at the addresses above and placed the envelope for collection and mailing, following
            our ordinary business practices. I am ready familiar with this business’s practice for
22          collecting and processing correspondence for mailing. On the same day that correspondence
            is placed for collection and mailing, it is deposited in the ordinary course of business with
23          the United States Postal Service, in a sealed envelope with postage fully prepaid.

24          Executed on February 9, 2022, Monrovia, California.

25    ☒     [FEDERAL] I declare that I am employed in the office of a member of the bar of this Court
            at whose direction the service was made.
26

27

28                                               Christine Sanders

                                                   7
                                            PROOF OF SERVICE
